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  DEFENDANT:          DEANNA CRYSTAL WEST,
                      a/k/a “Vital Sweetz,” a/k/a “Sage West,”

  AGE/YOB:             38/1986

  COMPLAINT     _______ Yes ____X___ No
  FILED?
  HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                      ____ Yes   __X__ No

  OFFENSE(S):         Count 1: 18 U.S.C. § 371– Conspiracy to commit offense or to
                      defraud United States

                      Count 2: 18 U.S.C. §§ 844(e), 2 – using instrumentalities of
                      interstate commerce to maliciously convey false information to
                      intimidate someone by means of fire

  LOCATION OF         El Paso County, Colorado
  OFFENSE:

  PENALTY:            Count 1: NMT 5 years’ imprisonment; NMT $250,000 fine, or both;
                      NMT 3 years’ supervised release; $100 Special Assessment.

                      Count 2: NMT 10 years’ imprisonment; NMT $250,000 fine, or both;
                      NMT 3 years’ supervised release; $100 Special Assessment

  AGENT:              Ethan Doherty, SA FBI

  AUTHORIZED          Bryan D. Fields, Assistant U.S. Attorney
  BY:


 ESTIMATED TIME OF TRIAL:

     X     five days or less; ___ over five days

 THE GOVERNMENT:

    X      will seek detention in this case based on 18 U.S.C. § 3142(f)(1) and/or (f)(2).

 _______ will not seek detention

 The statutory presumption of detention is not applicable to this defendant.
